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                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL MILLER,                         :        Civ. No. 1:24-CV-14
                                        :
      Plaintiff,                        :        (Judge Wilson)
                                        :
      vs.                               :        (Magistrate Judge Carlson)
                                        :
LANCASTER COUNTY, et al.,               :
                                        :
      Defendants.                       :

                                      ORDER


      AND NOW this 3d day of March 2025, in accordance with the accompanying

Memorandum Opinion, IT IS ORDERED that the defendants’ motions for sanctions,

(Docs. 48 and 67) are DENIED but Miller is placed on notice that, absent the reversal

of our prior decision, in our view further efforts to relitigate these claims in this

Court may likely subject the plaintiff to sanctions.



                                 Martin C. Carlson
                                 Martin C. Carlson
                                 United States Magistrate Judge




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